                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           Civil Action No.: 3:17-CV-00652


 SNYDER’S-LANCE, INC. and PRINCETON
 VANGUARD, LLC,
                                                         DEFENDANT’S MOTION FOR
                Plaintiffs,                                SUMMARY JUDGMENT

        v.

 FRITO-LAY NORTH AMERICA, INC.,

                        Defendant.


       Defendant Frito-Lay North America, Inc. (“Defendant” or “Frito-Lay”), pursuant to Rule

56 of the Federal Rules of Civil Procedure, hereby moves the Court for judgment in favor of

Defendant on all claims by Plaintiffs on the grounds that there is no genuine dispute as to any

material fact and Defendant is entitled to judgment as a matter of law. In support of this Motion,

Defendant has contemporaneously filed its Memorandum of Law in Support of Defendant’s

Motion for Summary Judgment with supporting documents.

       This the 30th day of August, 2018.


                                              /s/ Alice C. Richey
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                               CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing ANSWER with the Clerk of Court

using the CM/ECF system which will send notification of such filing to the following:

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       This 30th day of August, 2018.

                                            ALEXANDER RICKS PLLC


                                             /s/ Alice C. Richey
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